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Case 2:23-cv-00382-NT Document 1-6 Filed 10/10/23 Page 4 of 9   PageID #: 24
   From:
(Page 1 of Nobody
            1)  <SMTP:nobody@informe.org>
          Case 2:23-cv-00382-NT
  Sent: 9/29/2022   4:29:58 PM Document 1-6 Filed 10/10/23 Page 5 of 9 PageID #: 25
  To: WALZ_NATIONSTAR
  WALZ ID: 160_WALZ_NATIONSTAR@covius.com
  [EXTERNAL EMAIL from outside the organization. DO NOT click links or open
  attachments unless you recognize the sender and know the content is safe. Never
  give out your user ID or password.]


  Your pre-foreclosure reporting form has been successfully submitted to the Bureau
  of Consumer Credit Protection. Here is a copy of your submission.
  -----
  Mortgage Information
  -----
  Company providing the notice:Nationstar Mortgage LLC
  Owner of the mortgage:Federal National Mortgage Association
  What term best describes the owner of the mortgage?:Securitized Pool
  Filer's Email Address:WALZ_NATIONSTAR@lenderlive.com
  Contact information for persons having the authority to modify the mortgage to
  avoid foreclosure:Kerry-Ann Lynch 8950 Cypress Waters Boulevard   Dallas TX 75063
  833-685-2590 N/A KerryAnn.Lynch@mrcooper.com

  -----
  Consumer Information
  -----

  Consumer First name:GENEVA
  Consumer Middle Initial/Middle Name:
  Consumer Last name:KILKENNY PERSONAL REPRESENTATIVE OF ESTATE OF NORM
  Consumer Suffix:
  Property Address line 1:18 HUNNEWELL LN
  Property Address line 2:
  Property Address line 3:
  Property Address City/Town:WOOLWICH
  Property Address State:
  Property Address zip code:04579
  Property Address County:Sagadahoc

  -----
  Notification Details
  -----

  Date notice was mailed:9/29/2022
  Amount needed to cure the default:28790.07
  Consumer Address line 1:18 HUNNEWELL LN
  Consumer Address line 2:
  Consumer Address line 3:
  Consumer Address City/Town:WOOLWICH
  Consumer Address State:ME
  Consumer Address zip code:04579
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Case 2:23-cv-00382-NT Document 1-6 Filed 10/10/23 Page 7 of 9   PageID #: 27
               Case 2:23-cv-00382-NT
9/27/23, 9:40 AM                                Document 1-6  Filed- 10/10/23
                                                          USPS.com®               Page
                                                                     USPS Tracking® Results8 of 9             PageID #: 28


   USPS Tracking
                                           ®                                                                                 FAQs 




                                                                                                                           Remove 
   Tracking Number:

   9314710011701106605669
         Copy            Add to Informed Delivery (https://informeddelivery.usps.com/)




         Latest Update
         Your item was delivered to an individual at the address at 2:01 pm on October 4, 2022 in WOOLWICH,
         ME 04579.




                                                                                                                                  Feedback
         Get More Out of USPS Tracking:
              USPS Tracking Plus®


         Delivered
         Delivered, Left with Individual
         WOOLWICH, ME 04579
         October 4, 2022, 2:01 pm

         See All Tracking History

     What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                                              
       Text & Email Updates


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       USPS Tracking Plus®


                                                                                                                              
       Product Information


                                                              See Less 

   Track Another Package

     Enter tracking or barcode numbers


https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9314710011701106605669%2C&tABt=false                1/2
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                                                    Need More Help?
                                 Contact USPS Tracking support for further assistance.


                                                                  FAQs




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9314710011701106605669%2C&tABt=false     2/2
